      Case 2:11-cr-00108-EFS    ECF No. 533   filed 10/10/12   PageID.2133 Page 1 of 2




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6                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WASHINGTON
7
      UNITED STATES OF AMERICA,
8
                       Plaintiff,               NO. CR-11-0108-EFS-03
9
                 v.
10                                              ORDER DECLARING MISTRIAL AND
      RENEE GOMEZ (3),                          SETTING NEW PRETRIAL
11                                              CONFERENCE AND TRIAL
                       Defendant.
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14        On September 17, 2012, this matter came before the Court for trial

15   by jury.    Defendant Renee Gomez was present, represented by defense

16   counsel Richard Wall.        Co-defendants Isidro Madrigal-Galvan and Martin

17   Murillo-Barriga were also present, represented by defense counsel David

18   Partovi and Karen Lindholdt, respectively.                  Assistant United States

19   Attorneys Timothy Ohms and Caitlin Baunsgard appeared on behalf of the

20   U.S. Attorney’s Office (USAO).

21        After the USAO and Defendant Gomez presented their respective cases-

22   in-chief, both parties rested, and the case was submitted to the jury on

23   October 3, 2012. After lengthy deliberation, the jury returned a verdict

24   for Defendant Gomez of guilty on Counts 1, 21, 22, and 24, and not guilty

25   on Count 14.     The jury reported that it was hopelessly deadlocked on

26   Counts 12, 16, 18, 19, 20, and 23.           The jury was polled and agreed that


     ORDER ~ 1
      Case 2:11-cr-00108-EFS     ECF No. 533       filed 10/10/12   PageID.2134 Page 2 of 2




1    it was hopelessly deadlocked with respect to those Counts.                     Accordingly,

2    the Court declared a mistrial on Counts 12, 16, 18, 19, 20, and 23 with

3    respect to Defendant Gomez and discharged the jury on October 10, 2012.

4          Accordingly, IT IS HEREBY ORDERED:

5          1.     The Court declares a MISTRIAL on Counts 12, 16, 18, 19, 20, and

6                 23 of the Second Superseding Indictment, ECF No. 267, with

7                 respect to Defendant Renee Gomez.

8          2.     A pretrial conference is SET for December 17, 2012, at 8:30
9                 a.m. in SPOKANE.        All pretrial motions shall be noted for and

10                heard at the pretrial conference.

11         3.     A jury trial is SET for December 17, 2012, at 9:00 a.m. in

12                SPOKANE.

13         IT IS SO ORDERED.          The Clerk’s Office is directed to enter this

14   Order nunc pro tunc as of October 10, 2012, the date the Court orally

15   declared a mistrial, and to provide a copy to counsel, the U.S. Probation

16   Office, and the U.S. Marshals Service.

17         DATED this 24th        day of October 2012.

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19                                  s/Edward F. Shea
                                       EDWARD F. SHEA
20                          Senior United States District Judge

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     ORDER ~ 2
